        Case 2:17-cv-01985-JHS          Document 49       Filed 03/22/19      Page 1 of 27




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 SEAN ELGERT,

                          Plaintiff,
                                                                 CIVIL ACTION
         v.                                                      NO. 17-1985

 SIEMENS INDUSTRY, INC., et al.,

                          Defendants.


                                            OPINION

Slomsky, J.                                                                        March 21, 2019

   I.         INTRODUCTION

        This is a strict liability case involving the alleged defective design of a conveyor machine

known as the LOA-24. Plaintiff Sean Elgert was a mechanic employed by the United Parcel

Service (“UPS”) in Horsham, Pennsylvania. UPS uses the LOA-24 conveyor to sort packages at

its warehouses. Defendants Siemens Industry, Inc. (“Siemens”), Siemens Postal, Parcel, and

Airport Logistics, LLC, and Dematic Corp. (“Dematic”) (collectively, “Defendants” or “Siemens

Dematic”) are the manufacturers, producers and distributers of the machine.

        On July 7, 2015, Elgert was severely injured while repairing an LOA-24 conveyor at his

facility. He sued Defendants in the Court of Common Pleas of Philadelphia County, raising two

claims: (1) strict liability under § 402A of the Restatement (Second) of Torts, pursuant to Tincher

v. Omega Flex, Inc., 104 A.3d 328 (Pa. 2014), and (2) negligence. Before the Court is Defendants’

Motion for Summary Judgment. (Doc. No. 28.) Plaintiff filed an Opposition to the Motion for

Summary Judgment (Doc. No. 30-1), and Defendants filed a Reply in Support of their Motion

(Doc. No. 34). The Motion is now ripe for disposition. For the reasons discussed infra, it will be

granted in part and denied in part.

                                                 1
          Case 2:17-cv-01985-JHS              Document 49         Filed 03/22/19    Page 2 of 27




    II.       BACKGROUND

              A. The Model LOA-24 Conveyor Incident

          Plaintiff Sean Elgert (“Plaintiff” or “Elgert”) was a full-time mechanic at the UPS facility

in Horsham, Pennsylvania. (Doc. No. 1 at 15 ¶ 2.) His job responsibilities included servicing,

repairing and inspecting LOA-24 machines. (Doc. No. 29-5 at 30:1-2.) The LOA-24 is used

exclusively by UPS. In 1998, UPS collaborated with two manufacturers, Santa Rosa Steel and

Caljan Industries, to create the design for the machine. (Doc. No. 29-10 ¶ 13.) In 2004, Siemens

Dematic purchased the rights to design and manufacture it. (Id.) Siemens Dematic sold and

designed the particular LOA-24 that was involved in Elgert’s incident. (Id.) Since 1998, despite

the change in manufacturer in 2004, there have been no material changes to the LOA-24 design.

(Doc. No. 29-8 at 3; Doc. No. 29-10 at 6 ¶ 13.) Aside from the incident giving rise to this case,

there have been no reported claims, notices or lawsuits regarding the LOA-24. (Doc. No. 29-14

at 3 ¶ 7.)

          The LOA-24 is an intricately designed machine. Its product manual contains the following

description:

          The Model LOA-24 Cantilever Gravity Loader is a fixed-base gravity roller
          conveyer with three cantilevered, telescoping booms 1. The conveyor is set at a fixed
          angle to provide gravity roller transport and accumulation of cartons as they come
          off the feed conveyer to the destination trailer. At the end of the unit, an articulating
          belted end (ABE), also known as a “droop snoot”, provides a height-adjustable
          operator interface.

          [It] is specifically designed to:

                  Carry 50 lb per linear foot of live load, plus 200 lb of load at the end of the
                  ABE.

                  Extend over 40 feet into flat floor trailers.



1
    Each separate extending section is called a boom. (Doc. No. 29-10 ¶ 8.)
                                                     2
       Case 2:17-cv-01985-JHS           Document 49        Filed 03/22/19        Page 3 of 27




               Extend over the roller sections present in flat-floor, drop-frame trailers, with
               and without shelves.

               Provide gravity accumulation of material to the outbound trailer.

               Provide automated belt conveyor convenience to the operator loading the
               packages.

               Relieve line pressure and provide lift assist for the operator.

(Doc. No. 29-7 at 15; Doc. No. 30-6 at 9.)

       Essentially, while in operation, the machine moves pre-sorted packages down an extended

inclined conveyor belt by the force of gravity. The conveyor belt is created by three connecting

sections.   The three sections telescope, which means they can be extended and retracted.

Extensions and retractions of the booms are driven by an electric gearmotor, 2 which operates

through a chain drive arrangement. (Id.) Specifically, the gearmotor has a brake and two output

shafts, 3 which form the mechanism for extending and retracting conveyer boom sections. (Doc.

No. 30-5 at 11.) When the machine is operating, or “energized,” torque limiting clutches 4 on the




2
    A gearmotor is a type of electrical motor with various output speeds secured by attached
    combinations of gears. Gearmotor, MERRIAM-WEBSTER, https://www.merriam-
    webster.com/dictionary/gearmotor (last visited Mar. 13, 2019).
3
    An output shaft transmits power from the prime mover to the units or parts of a machine to be
    operated.       Output       Shaft,       MERRIAM-WEBSTER,            https://www.merriam-
    webster.com/dictionary/output%20shaft (last visited Mar. 13, 2019).
4
    “Torque” is a measure of how much a force acting on an object causes that object to rotate.
    What is a Torque?, https://www.physics.uoguelph.ca/tutorials/torque/Q.torque.intro.html (last
    visited Mar. 13, 2019).

    A torque limiter is a part of the machine that protects its other components from damage in the
    event of a torque overload, so that the amount of torque transmitted from one component to
    the other does not exceed the pre-set amount. Mach III, How it Works: Mechanical Friction
    Torque       Limiter,       http://www.machiii.com/Application/How-Friction-Torque-Limiter-
    Works.asp (last visited Mar. 13, 2019).

                                                  3
       Case 2:17-cv-01985-JHS          Document 49        Filed 03/22/19      Page 4 of 27




output shafts transmit power to the chains and sprockets 5 that extend and retract the booms

sections. (Id.) From the control center, a user can extend or retract the booms. (Id.) When it is

not being used, the machine is “de-energized.” In this state, the electric motor brake automatically

activates to prevent booms from extending while the machine is being serviced. (Id.) The motor

break can be disengaged when the machine is being serviced. 6 (Id.)

       On the day of the incident, Elgert was attempting to replace the right and left clutch pads,

which are parts on the torque limiters at the base of a LOA-24 machine. (Doc. No. 29-4 at 3.)

While doing so, he disengaged all electronic energy sources, thereby locking out the unit. (Id.)

After replacing the left clutch pad, he moved to the right side of the machine and removed the right

boom chain master link. (Id.) He did not tighten the bolts on the left side of the machine, causing

the unit to drift. (Doc. No. 29-4 at 7.) The drive sprocket then rotated suddenly extending the

booms, despite the electronic lock out of the machine. (Doc. No. 30-10 at 6.) Elgert’s left hand

was in the path of the booms. As a result, his long, ring, index and small fingers on his left hand

were crushed and severed by the booms. (Id.) He was immediately rushed to Thomas Jefferson




5
    A sprocket is a toothed wheel whose teeth engage the links of a chain. Sprocket, MERRIAM-
    WEBSTER, https://www.merriam-webster.com/dictionary/sprocket (last visited: Mar. 13, 2019).
6
    UPS refers to the process of securing the LOA-24 boom sections as a “mechanical lockout.”
    The purpose of this procedure is to protect the user of the machine from the release of stored
    energy during maintenance. (See Doc. No. 29-7; Doc. No. 30-6.) Stored energy is a gravity
    potential that accumulates when the machine is situated in a way that some parts are farther
    away from others. (Doc. No. 30-7 at 6:10-19.) With respect to the LOA-24, it presents a
    particular hazard because this gravity potential could cause the booms to extend on their own
    without an operator. (Id.) When the LOA-24 is mechanically locked out, the user is preventing
    a hazard from happening by anchoring the booms. Methods of mechanical lockout differ at
    UPS facilities. (Doc. No. 30-7 at 65:4-14.)

    At the beginning of their employment, plant engineer mechanics are trained by UPS on how
    to perform mechanical lockout on the LOA-24. During an orientation period, mechanics
    shadow experienced mechanics in the field for several days. (Doc. No. 29-10 ¶ 15.)
                                                 4
       Case 2:17-cv-01985-JHS           Document 49        Filed 03/22/19      Page 5 of 27




University Hospital and underwent surgery on his left hand. (Doc. No. 30-4 at 2.) His four injured

fingers were amputated. (Id.) Elgert has no recollection of the incident, and there were no

witnesses. (Doc. No. 29-5 at 84:2-3.)

       The LOA-24 manual contains information regarding the operation and maintenance of the

machine. (Doc. No. 29-7 at 1-19; Doc. No. 30-6 at 1-14.) It provides instructions on how to

operate and maintain the machine, and general safety warnings. (Id.) In relevant part, the manual

warns users to anchor the conveyer booms during maintenance and explains that the unit booms

will telescope if not anchored. (Id.) It also warns users not to perform maintenance until all gravity

energy sources have been locked out. (Id.)

       Specifically, it states:

       The primary purpose for a lockout/tagout procedure is to protect workers from
       injury caused by the unexpected energization or start-up of equipment.

       The standard from the Occupational Safety and Health Administration (OSHA)
       centers on the control of potentially hazardous energy. The rule requires that energy
       sources for equipment be turned off or disconnected, and that the switches be locked
       or labeled with a warning tag. This ensures that the equipment has been shut down
       for servicing or maintenance and will not reactivate while employees are working
       on it. The regulation defines servicing and maintenance as covering “lubrication,
       cleaning and unjamming of machines or equipment . . . where the employee may
       be exposed to the unexpected energization or start up [sic] of the equipment . . .
       among other things.

       We are bringing this to your attention in the event you are not aware of the standard.
       We urge you to review the applicability and requirements of the standard with
       respect to your facilities. The lockout/tagout procedure is considered to be just one
       element of the control procedures for hazardous energy. The employer is
       responsible for providing procedures that include de-energization of equipment,
       isolation of energy sources, verification that equipment has been de-energized, and
       complete diffusion of stored energy.

       The standard requires an ongoing program of control procedures and employee
       training by the employer (regardless of training provided by the equipment vendor
       at the time of sale) to ensure that the purpose and functions of energy controls are
       understood and applied. For further information regarding lockout/tagout
       requirements, refer to the Federal Register, Volume 54, No. 169 published

                                                  5
       Case 2:17-cv-01985-JHS         Document 49       Filed 03/22/19     Page 6 of 27




       September 1, 1989. The referenced standard may be found at 29 CFR Part 1910,
       Section 1910.147. Also copies may be requested from Siemens Dematic’s Product
       Safety Department.

(Doc. No. 29-7 at 12; Doc. No. 30-6 at 6.)

The manual contains the following warning:

       Do not perform adjustments, maintenance, or other work on this equipment without
       following OSHA lock-out/tag-out requirements and estate and local requirements.
       Failure to follow these requirements may result in serious injury and/or equipment
       damage.

       Anchor the unit booms before starting the removal procedure. Once the boom chain
       master link is disconnected, gravity will move the unit booms if they are not
       anchored.

(Doc. No. 29-7 at 18; Doc. No. 30-6 at 11.)

       No instructions are in the manual issued by Siemens Dematic on how to mechanically

lockout or anchor the machine. According to a Siemens Dematic representative, Christopher

Schikevitz (“Schikevitz”), the company provided an in-person informal training on basic

maintenance, including mechanical lockout in 2008. (Doc. No. 30-7 at 14:23-25; 15:3-5.) Aside

from this training session, Siemens Dematic did not offer any other training or written materials

to UPS mechanics during their employment on how to lockout and maintain the LOA-24. Newly

hired mechanics learn UPS’s internal lockout methods during their orientation training, when they

shadow an experienced engineer. 7 (Doc. No. 29-14 at 50:13-24; 51:1-7.)




7
    UPS also has not issued specific written materials regarding the process. (Doc. No. 29-15 at
    4; id. at 66:7-12; see also Doc. No. 30-7 at 16:16-21.) After beginning his position as a
    mechanic engineer in 2013, Elgert’s training included one week of educational training in an
    office setting with UPS supervisor, Ernest Strother, where he reviewed materials, answered
    questions and took quizzes on a computer. (Doc. No. 29-5 at 31:15-20; 33:4-11.) Then, he
    underwent a second week of training in the field where he shadowed an experienced mechanic
    and watched him perform several day-to-day activities on the job. (Id. at 31:15-24.)
                                               6
       Case 2:17-cv-01985-JHS          Document 49       Filed 03/22/19      Page 7 of 27




           B. Safety Standards and Regulations

       The nationally recognized industry design standard for conveyers is the American National

Standards Institute (“ANSI”) B20.1 Safety Standard for Conveyers and Related Equipment. (Doc.

No. 29-6 at 8, 26-32; Doc. No. 29-10 at 2.) ANSI applies to the design, construction, installation,

maintenance, inspection and operation of conveyors and conveying systems in relation to hazards.

(Id.) The Occupational Safety and Health Administration (“OSHA”) requires employers like UPS

to provide their employees with detailed written procedures for the control of hazardous energy

during servicing or maintenance activities on conveyer equipment.               See 29 C.F.R §

1910.147(c)(4)(ii)(C). OSHA also requires employers to provide specific lockout instructions for

each piece of conveyer equipment within an employer’s facility. (Doc. No. 29-10 at 3 ¶ 5.)

Moreover, ANSI requires an employer’s lockout procedures for conveyer equipment to include

specific procedural steps for shutting down, isolating, blocking, securing and relieving stored or

residual energy. (Id.) The procedures set forth in ANSI are consistent with OSHA requirements

and procedures. (Id.) UPS training procedures are not reduced to writing as required by OSHA

and ANSI 8. (Doc. No. 29-5 at 15-19; Doc. No. 29-15 at 66:7-12.)

       In his deposition, Elgert testified that he performed maintenance on the LOA-24 about fifty

times before the incident. (Doc. No. 29-5 at 68:2-9.) The maintenance included greasing, repairing

electrical problems, and replacing parts. (Doc. No. 29-5 at 69:1-2.) He also did clutch pad

maintenance on the LOA-4 about ten times previously. (Doc. No. 29-5 at 69:1-24.)



8
    After the incident, OSHA conducted an investigation and cited UPS for violating OSHA 29
    C.F.R § 1910.147. (Doc. No. 29-17 at 2-4.) OSHA found that UPS’ energy control program
    did not clearly and specifically outline steps necessary for the mitigation of stored kinetic
    energy on the LOA-24. (Id.) It also found that UPS failed to meet its duty of providing
    employees with written instructions on the performance of a mechanical lockout on the LOA-
    24. (Id.)


                                                7
        Case 2:17-cv-01985-JHS          Document 49        Filed 03/22/19      Page 8 of 27




This was the work he was doing at the time of the incident.

        Elgert does not recall learning how to mechanically lockout the LOA-24 during his training

at the beginning of his employment at UPS in 2013. (Doc. No. 29-5 at 29:22-24; 41:15-23; 65:2-

24) He had not been trained to secure the unit booms from gravity potential when performing a

clutch pad replacement. (Doc. No. 29-5 at 65:2-7.) Although he had access to a product manual

that was available in the UPS maintenance office, Elgert never read it. (Doc. No. 29-5 at 42:11-

24.) But as noted earlier, the manual has no instructions on how to manually lockout the LOA-24.

        Ernest Strother, a UPS maintenance mechanic supervisor, stated in his deposition that he

recalled training Elgert on gravitational lockout, but his testimony is unclear as to whether this

training related to the LOA-24 unit. (Doc. No. 29-14 at 52:1-24.) Elgert’s incident is the only

reported claim, notice or lawsuit alleging a defect in the LOA-24. (Doc. No. 28 at 6.)

             C. Expert Testimony

        Both Plaintiff and Defendants have offered testimony and written opinions from expert

witnesses.

                1. Thomas Cocchioloa, P.E., C.S.P. 9

        In support of his claim, Plaintiff retained Thomas Cocchiola, P.E., C.S.P. to render an

expert opinion. (Doc. No. 31-1 at 3.) Cocchiola earned a Bachelor’s degree in mechanical

engineering from Villanova University, where he was a member of Pi Tau Sigma, an honorary

mechanical engineering fraternity. 10 (Doc. No. 31-7 at 2-3.) He also holds a Master’s Degree in

Business Administration. (Id.) Additionally, he is a licensed professional engineer in New



9
     P.E. stands for “professional engineer.” C.S.P. stands for “Certified Safety Professional.” (See
     Doc. No. 31-7 at 2.)
10
     Mechanical engineering is the branch of engineering that involves the design, production and
     operation of machines.
                                                  8
       Case 2:17-cv-01985-JHS          Document 49       Filed 03/22/19      Page 9 of 27




Jersey, New York and Pennsylvania. (Id.) He is a board-certified professional, and a member of

the American Society of Mechanical Engineers, the National Society of Professional Engineers,

the National Academy of Forensic Engineers, and the American Society of Safety Engineers.

(Id.) Cocchiola had served as an adjunct professor at the New Jersey Institute of Technology

until 1999. (Id.) Since 1976, he has worked as consulting engineer. (Id.)

       Cocchiola prepared a written report based on inspections of the Siemens Dematic LOA-

24 conveyor involved in the accident, documents produced in discovery regarding the accident,

authoritative safety standards and references, and his education, professional training and

experience. (Doc. No. 31-2 at 4.)

       His opinion has two main conclusions. (Id.) They are: (1) the LOA-24 was defectively

designed, and (2) there were feasible alternative designs that could have successfully eliminated

the stored energy risk that caused Elgert’s injury. (Doc. No. 31-2 at 3-28.) He opines that

Defendants should have equipped the machine with energy isolation devices to prevent the

release of stored mechanical energy during maintenance and repair of the LOA-24 in accordance

with ANSI regulations. (Id. at 16-19.) In particular, Defendants should have provided an energy

isolating device to prevent the telescoping boom section from extending due to the force of

gravity.   (Id.)   Additionally, he found that the machine’s manual did not include a

recommendation for type or location of energy isolating devices to be used to anchor the booms,

despite Defendants’ awareness of the hazard. (Id.)

       In relevant part, he opined:

       The Siemens Dematic LOA-24 was defectively designed because it lacked energy
       isolation devices for safely securing conveyor boom sections during maintenance
       and repairs. Energy isolation devices were necessary for securing boom sections
       during maintenance in accordance with safety standards (ANSI/ASSE Z244.1) and
       recommendations.



                                                9
       Case 2:17-cv-01985-JHS          Document 49        Filed 03/22/19      Page 10 of 27




        The LOA-24 specifically lacked properly identified integral energy isolation
        devices (e.g., latch pins, vertically and horizontally stop bars, cross member
        latches) or non-integral energy isolation devices (e.g., safety blocks, props, clamps,
        and come-alongs 11) that would enable workers to prevent boom section movement
        due to the force of gravity.

        Siemens Dematic should have provided energy isolation devices to restrain stored
        potential energy due to gravity consistent with ANSI/ASSE Z244.1.

        The failure of Siemens Dematic to equip the LOA-24 with energy isolation devices
        unnecessarily exposed workers to a risk of injury and is inconsistent with
        acceptable engineering practice.

        The Siemens Dematic LOA-24 was defectively designed because the lockout
        section in the service manual did not address hazards due to gravity and did not
        include information and recommendations for energy isolation devices.

        The Siemens Dematic lockout section should have specifically addressed hazards
        due to gravity and included specific energy isolation device recommendations in
        accordance with ANSI/ASSE Z244.1.

        Siemens Dematic failed to provide information and energy isolation device
        recommendations needed for the development of safe lockout procedures.

        The LOA-24 service manual should have included the type of instructions and
        recommendations for “approved” energy isolation devices that were included in
        Bulletin #56.

        The failure of Siemens Dematic to specifically address gravity-related hazards and
        to provide energy isolation device recommendations unnecessarily exposed UPS
        mechanics to a risk of injury and is inconsistent with acceptable engineering
        practice.

        The Siemens Dematic LOA-24 was defective because it lacked adequate safety
        warnings in the service manual and on the conveyor. Siemens Dematic should have
        displayed a mechanical lockout warning addressing gravity (e.g., CEMA12
        warning) in the lockout and base repair sections. Siemens Dematic should also


11
     A come-along is a hand-operated tool used to pull objects.
12
     “CEMA” stands for Conveyor Equipment Manufacturer Association. This trade association
     includes companies that represent the leading designers, manufacturers, and installers of
     conveyors, conveyor components, and material handling systems. They create voluntary
     standards, safety, manufacture, and applications to promote growth in the industry. ANSI
     Webstore,       CEMA:         Conveyor        Equipment       Manufacturers   Association,
     https://webstore.ansi.org/sdo/cema (last visited: Mar. 20, 2019).
                                                 10
      Case 2:17-cv-01985-JHS         Document 49          Filed 03/22/19   Page 11 of 27




       have displayed a lockout warning addressing gravity hazards (e.g., CEMA warning)
       along with the electrical lockout warning next to the LOA-24 electrical disconnect
       switch.

       The failure of Siemens Dematic to display safety warnings that specifically address
       the need to restrain gravity related hazards unnecessarily exposed UPS mechanics
       to a risk of injury and is inconsistent with acceptable engineering practice.

(Doc. No. 31-2 at 22-23.) Cocchiola submitted that a pin system could have been used to prevent

boom section movement. (Id.) In his deposition, he stated that the pin should be L-shaped, six

inches long, and three-quarter inches in diameter to adequately sustain the weight of the booms.

(See Doc. No. 31-3.) He said that holes in two spots on corresponding sides of the conveyor

could accommodate the pins. (Id. at 6.)

              2. Frank Schwalje, P.E., C.S.P.

       Defendants retained as their expert Frank Schwalje, P.E., C.S.P., a licensed professional

engineer who specializes in mechanical engineering. (Doc. No. 29-10 ¶ 2.) For over three decades,

he has specialized in investigating workplace injuries. (Id.) His expertise specifically includes

testing and evaluating mechanical products to determine whether they perform in accordance with

the manufacturer’s specification and in compliance with the relevant safety standards. (Id.) He

has worked as a consultant for industrial conveyor manufacturers regarding the design and

development of industrial conveyor products. (Id. ¶ 3.)

       Schwalje prepared a report based on inspections of the Siemens Dematic LOA-24 conveyor

involved in the accident, documents produced in discovery regarding the accident, authoritative

safety standards and references, and his education, professional training and experience. (Doc.

No. 29-6.) In relevant part, he concluded:

       The injuries sustained by [Elgert] were not caused by any defect or deficiency in
       the design or manufacture of the Siemens Dematic, Model LOA-24 extendable
       boom, gravitational conveyor. This conveyor contained all necessary features for
       its intended use.

                                               11
Case 2:17-cv-01985-JHS         Document 49        Filed 03/22/19      Page 12 of 27




[Cocchiola] acknowledged that plaintiff failed to secure the left side clutch
assembly bolts before working on the right side. UPS personnel, through their
investigation, concluded that the plaintiff also failed to restrain the boom by any of
the methods at his disposal. [Elgert]’s injuries resulted from his failure to restrain
the booms from extending while he was performing remedial measures to the clutch
pads.

Contrary to [Cocchiola]’s opinion, . . . Siemens Dematic did perform a hazard
analysis of this product. There are numerous references throughout the Siemens
Service Manual that support this conclusion, including one specific to this matter
that acknowledges the presence of a potential hazard associated with gravitational
extension of the boom resulting from the removal of the drive chain from the motor
drive assembly. The warning that is contained within the manual establishes a
conscious effort by Siemens to evaluate this potential hazard. Siemens recognized
the risk in the warning and how to avoid the risk.

This conveyor was provided with multiple methods of preventing movement of the
boom sections due to gravitational forces, including a redundant braking system
that prevents the movement of the conveyor boom sections whenever the drive
motor is deenergized. When the braking system is rendered inoperable due to
repairs being performed on the system, there exists a way to eliminate the
gravitational energy of the boom sections by simply fully extending the boom
sections. Alternative methods to restrain the potential motion of the boom sections
through the use of ordinary tools were in place at this and other UPS facilities.
Accordingly, the writer disagrees with plaintiff’s expert’s allegation that the
conveyor lacked the necessary energy isolation devices.

It is the writer’s opinion that the energy isolation devices provided by the
manufacturer through design, and the training provided to UPS, complied with the
requirements of ANSI . . . .

UPS workers were not unnecessarily exposed to the risk of injury as alleged by
[Cocchiola]. The Model LOA-24 conveyor has been in service for approximately
23 years, during which time this accident is the only known serious injury sustained
by an employee on the more than 1,450 LOA-24 conveyors in service.
                                        ...

The equipment was provided with the means of deenergizing both electrical and
gravitational energy in a simple and efficient manner, thereby eliminating the
potential danger to personnel maintaining or repairing this equipment. By
following established lockout procedures, as mandated by codes and standards
required of the employer and employee, this equipment could easily be placed into
a zero-energy state as necessary for performing certain repairs or maintenance
tasks, as detailed in this report. When these established procedures are followed,
the stored energy posed no danger to maintenance personnel.

                                         12
       Case 2:17-cv-01985-JHS          Document 49        Filed 03/22/19      Page 13 of 27




(Id. at 24-25.)

            D. Procedural History

        On March 23, 2017, Plaintiff sued Siemens Applied Automation, Inc., Siemens Corp.,

Siemens Industry, Inc., Siemens Postal, Parcel, and Airport Logistics, LLC, Siemens AG, Siemens

Dematic Electronics Assembly Systems, Inc., and Dematic Corp. in the Court of Common Pleas

of Philadelphia County, raising two claims: (1) strict liability under § 402A of the Restatement

(Second) of Torts, and (2) negligence. (Doc. No. 1 at 14-24.) He sought damages for rehabilitation

and medical expenses. On May 1, 2017, the case was removed to this Court based on diversity of

citizenship jurisdiction.13 On September 26, 2017, Defendants Siemens Corporation, Siemens AG,

Siemens Applied Automation, Inc. and Siemens Dematic Electronics Assembly Systems, Inc. were

dismissed as Defendants by stipulation. (Doc. No. 23.) On August 1, 2018, the remaining

Defendants, Siemens Industry, Inc., Siemens Postal, Parcel, and Airport Logistics, LLC, and

Dematic Corp. filed a Motion for Summary Judgment (Doc. No. 28), and a Motion to Preclude

Plaintiff’s Expert Thomas Cocchiola from Offering Any Warning, Safety Communication and

Alternative Design Opinions at Trial (Doc. No. 29).       Plaintiff opposed both Motions. 14 (Doc.

Nos. 30, 31). On September 5, 2018, a hearing on both Motions was held. In an Opinion and


13
     Defendants removed this case pursuant to 28 U.S.C. § 1332(a)(1), which provides:

        The district courts shall have original jurisdiction of all civil actions where the
        matter in controversy exceeds the sum or value of $75,000, exclusive of interest
        and costs, and is between citizens of different States.
14
     Defendants also moved for summary judgment on the negligence claim in Count II of the
     Complaint. On August 15, 2018, Plaintiff filed his Opposition to Defendants’ Motion for
     Summary Judgment. (Doc. No. 30-1.) In his Opposition, he did not respond to Defendants’
     argument on the negligence claim. As a result, Defendants contend that Plaintiff withdrew his
     negligence claim. According to the docket, however, the parties have not stipulated to the
     withdrawal of this claim. Therefore, the Court does not consider Count II of the Complaint to
     be withdrawn and therefore will address in this Opinion whether summary judgment should be
     granted on the negligence claim.
                                                 13
      Case 2:17-cv-01985-JHS           Document 49        Filed 03/22/19      Page 14 of 27




Order, dated March 20, 2019, the Court denied Defendants’ Motion to Preclude Plaintiff’s Expert

Testimony. (Doc. Nos. 47, 48.)

          Before the Court is Defendants’ Motion for Summary Judgment on both counts of the

Complaint (Doc. No. 28), Plaintiff’s Response in Opposition (Doc. No. 30), and Defendant’s Reply

(Doc. No. 36). For reasons discussed infra, Defendants’ Motion for Summary Judgment (Doc. No.

28) will be granted in part and denied in part.

   III.      STANDARD OF REVIEW

          Granting summary judgment is an extraordinary remedy.             Summary judgment is

appropriate “if the movant shows that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(a). In reaching this decision,

the court must determine “whether the pleadings, depositions, answers to interrogatories,

admissions on file, and affidavits show that there is no genuine issue of material fact and whether

the moving party is therefore entitled to judgment as a matter of law.” Macfarlan v. Ivy Hill SNF,

LLC, 675 F.3d 266, 271 (3d Cir. 2012) (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)).

A disputed issue is “genuine” only if there is a sufficient evidentiary basis on which a reasonable

factfinder could find for the non-moving party. Kaucher v. County of Bucks, 455 F.3d 418, 423

(3d Cir. 2006) (citing Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986)). A factual

dispute is “material” only if it might affect the outcome of the suit under governing law. Doe v.

Luzerne County, 660 F.3d 169, 175 (3d Cir. 2011) (citing Gray v. York Papers, Inc., 957 F.2d

1070, 1078 (3d Cir. 1992)). The Court’s task is not to resolve disputed issues of fact, but to

determine whether there exist any factual issues to be tried. Anderson, 477 U.S. at 247-49.

          In deciding a motion for summary judgment, the Court must view the evidence and all

reasonable inferences from the evidence in the light most favorable to the non-moving party.

Macfarlan, 675 F.3d at 271; Bouriez v. Carnegie Mellon Univ., 585 F.3d 765, 770 (3d Cir. 2009).
                                                  14
        Case 2:17-cv-01985-JHS          Document 49        Filed 03/22/19      Page 15 of 27




Whenever a factual issue arises which cannot be resolved without a credibility determination, at

this stage the Court must credit the non-moving party’s evidence over that presented by the moving

party. Anderson, 477 U.S. at 255. If there is no factual issue and if only one reasonable conclusion

could arise from the record regarding the potential outcome under the governing law, summary

judgment must be awarded in favor of the moving party. Id. at 250.

IV.      ANALYSIS

         Defendants move for summary judgment on the strict liability claim pursuant to Tincher v.

Omega Flex, Inc., 104 A.3d 328 (Pa. 2014), the leading products liability decision that articulates

the test for determining whether a product is “defective” and when, as in this case, a supplier of

the product is strictly liability for injuries caused by the defect. 15 In Tincher, the Pennsylvania

Supreme Court adopted a framework for strict products liability cases based on the Restatement

(Second) of Torts. Id. It ruled that to establish a prima facie warning, design or manufacturing

defect claim under Pennsylvania law, a plaintiff must show (1) the product was defective, (2) the

defect existed when the product left the seller’s hands, and (3) that the defect caused the plaintiff’s

harm. Id. at 335. Simply put, under the facts of this case, the relevant inquiry is whether the

defective design of the LOA-24 caused Elgert’s injury.

         A plaintiff may prove a “defective condition” exists by showing either “(1) the danger is

unknowable and unacceptable to the average or ordinary consumer” (the “consumer expectations

standard”), or “(2) a reasonable person would conclude that the probability and seriousness of

harm caused by the product outweigh the burden or costs of taking precautions” (the “risk-utility

standard”). Id. at 335, 387, 389. Both frameworks involve analysis for the finder of fact and



15
      Because the Court’s jurisdiction over this case is based on diversity of citizenship between the
      parties, the Court will apply the substantive law of Pennsylvania. Chin v. Chrysler LLC, 538
      F.3d 272, 278 (3d Cir. 2008).
                                                  15
      Case 2:17-cv-01985-JHS           Document 49        Filed 03/22/19       Page 16 of 27




should only be removed from the jury’s consideration where it is clear that reasonable minds could

not differ on the issue. Id. at 335.

        Plaintiff does not argue that the “consumer expectations” standard applies here. Rather, he

relies on the “risk-utility” standard. Defendants contend that Plaintiff’s design defect claim fails

under this standard. (Doc. No. 28 at 2.) In response, Plaintiff asserts that summary judgment

should be denied because he has provided sufficient evidence to show that the LOA-24 is defective

under the risk-utility theory.

    A. Summary Judgment Will Be Denied On Plaintiff’s Strict Liability Claim Because
       There Are Genuine Disputes of Material Fact Under the Risk-Utility Standard

        The risk utility standard involves a cost-benefit analysis. See Tincher, 104 A.3d at 389.

This standard provides that a product is defective if a reasonable person would find that “the

probability and seriousness of harm caused by the product outweighs the burden or costs of taking

precautions.” Id. The court in Tincher stated that this standard “offers courts an opportunity to

analyze post hoc whether a manufacturer’s conduct in manufacturing or designing a product was

reasonable.” Id. “The difficulty in presenting the issue to the jury . . . is resolved by reference to

Judge Learned Hand’s formula, which ‘succinctly captures the common-sense idea that products

are unacceptably dangerous if they contain dangers that might cost-effectively (and practicably)

be removed.’” Id. at 390.

        The risk-utility standard is evaluated under the following factors:

        (1) The usefulness and desirability of the product—its utility to the user and to the
            public as a whole.
        (2) The safety aspects of the product—the likelihood that it will cause injury, and
            the probable seriousness of the injury.
        (3) The availability of a substitute product which would meet the same need and
            not be as unsafe.




                                                 16
      Case 2:17-cv-01985-JHS           Document 49        Filed 03/22/19       Page 17 of 27




       (4) The manufacturer's ability to eliminate the unsafe character of the product
           without impairing its usefulness or making it too expensive to maintain its
           utility.
       (5) The user's ability to avoid danger by the exercise of care in the use of the
           product.
       (6) The user's anticipated awareness of the dangers inherent in the product and their
           availability, because of general public knowledge of the obvious condition of
           the product, or of the existence of suitable warnings or instructions.
       (7) The feasibility, on the part of the manufacturer, of spreading the loss by setting
           the price of the product or carrying liability insurance.

Id. at 398-99.

       Pennsylvania courts have consistently held that questions arising under the risk-utility

analysis should be reserved for a jury. See, e.g., DeJesus v. Knight Indus. & Assocs., No. 10-7434,

2016 U.S. Dist. LEXIS 121697, at *28 (E.D. Pa. Sept. 8, 2016) (denying summary judgment based

on the risk-utility evaluation of a chain and rack lift table because there were issues of fact as to

whether the probability and seriousness of harm caused by a lift table outweighed the burden and

cost of installing alarms); Mercurio v. Louisville Ladder, Inc., No. 16-cv-412, 2018 U.S. Dist.

LEXIS 92111 (M.D. Pa. May 31, 2018) (holding that summary judgment was not appropriate

because any question of fact should be reserved for the jury, including the factors for a risk-utility

analysis); Nathan v. Techtonic Indus. N. Am., 92 F. Supp. 3d 264, 279 (M.D. Pa. Feb. 17, 2015)

(denying summary judgment with regard to a table saw’s safety features and finding that the

determination of whether the risk of harm of a product outweighed the cost of implementing other

technology was properly suited for a jury).

       Similarly here, several genuine issues of material fact arise under the risk-utility factors.

First and foremost, there is a genuine dispute of material fact on the safety aspect of the LOA-24.

Tincher, 104 A.3d at 398. Both Plaintiff and Defendants rely on expert witnesses and their opinions

on whether an alternative design would make the LOA-24 more safe. Plaintiff’s expert, Thomas


                                                 17
         Case 2:17-cv-01985-JHS         Document 49         Filed 03/22/19      Page 18 of 27




Cocchiola, has proposed alternative designs, such as the use of pins and other items, that would

guard against the hazard of the release of stored energy that caused the incident. Defendants’

expert, Frank Schwalje has disputed Cocchiola’s proposals.

         Initially, summary judgment is inappropriate where the opinions and credibility of experts

are in dispute. When ruling on a motion for summary judgment, “a district court may not make

credibility determinations or engage in the weighing of any evidence.” Paladino v. Newsome, 885

F.3d 203, 209-10 (3d Cir. 2018) (citations omitted). Instead, “the non-moving party’s evidence is

to be believed and all justifiable inferences are to be drawn in its favor.” Marino v. Indus. Crating

Co., 358 F.3d 241, 247 (3d Cir. 2004) (citing Anderson, 477 U.S. at 255).

         As discussed earlier, after conducting an investigation of the incident and reviewing the

record, Cocchiola concluded that the LOA-24 was defectively designed and that there were

feasible alternatives that could have eliminated the stored energy risk, thereby making the product

safer.

         Specifically, he stated the following in his report, in addition to his opinions noted supra:

         For safety purposes, Siemens Dematic should have equipped the LOA-24 with
         energy isolation devices to prevent the release of stored mechanical energy during
         maintenance and repairs in accordance with Sections 4.2 & 4.7 of ANSI/ASSE
         Z244.1. In particular, Siemens Dematic should have provided an energy isolating
         device to prevent the telescoping boom sections from extending due to the force of
         gravity.

         A number of alternative energy isolating devices could have been incorporated into
         the original design of the LOA-24 to secure the telescoping boom sections and
         prevent inadvertent movement during maintenance and repairs. For example,

         The base unit could have been designed with holes in the sides to accommodate
         pins that can secure cam rollers and prevent boom section movement. This design
         alternative would enable workers to insert pins without removing barrier grounds
         from the bottom of the conveyer. A pin inserted through the base section would
         extend in front of a cam roller to prevent the boom section from extending
         unintentionally.



                                                  18
       Case 2:17-cv-01985-JHS          Document 49        Filed 03/22/19      Page 19 of 27




                A threaded bolt design could also have been used to accomplish the same
                function. This alternative would enable a worker to tighten a bolt from the
                side. The tightened bolt would extend in front of the cam roller, to [sic]
                would prevent the boom section from extending unintentionally.

                An energy isolating pin or bolt would prevent the cam rollers from rolling,
                and prevent the conveyer boom sections from extending, in the same basic
                manner as the C-clamp or block . . .

        During his deposition, Mr. Schikevtiz 16 suggested that a mechanical lockout pin
        type design was subsequently considered for a similar Siemens Dematic conveyor
        approximately 8-years after the LOA-24 was designed and manufactured. Mr.
        Schikevitz estimated the cost of the lockout pin was approximately $15-$20.

        Mr. Schikevitz suggested a lockout pin would have weakened the LOA-24 based
        on discussions that reportedly occurred during work on the other similar conveyor.
        However, he acknowledged this suggestion is not based on an engineering analysis.

        [Cocchiola] disagrees with the suggestion that a lockout pin would have weakened
        the LOA 24 [sic] and caused problems based on the type of loading conditions. The
        telescoping conveyor sections cantilever out from the base unit, which anchored to
        the floor. The cantilever loads exerted by the telescoping sections place the top of
        the base unit in tension and the bottom in compression.

        A hole in the side of the base unit at the level of the cam roller would not
        significantly weaken the base unit and cause a structural failure, especially because
        fabricated channels on the bottom of the base unit provide additional strength and
        stiffness. Furthermore, it would have been easy and inexpensive to weld a stiffener
        plate around the holes, if necessary.

        The base unit could have been designed and fabricated to accommodate vertically
        aligned steel members (e.g., channels) to function as stop blocks. This design would
        enable a worker to slide a stop member down from the top of the cam roller to
        support arms. As an alternative, the base unit could have been designed to
        accommodate a horizontally aligned stop member slid in front of the cam roller
        support arms from the side of the conveyor. A vertically or horizontally aligned stop
        member would restrain the cam rollers and prevent in the conveyor boom section
        from moving under the force of gravity, in the same basic manner as the C-clamp
        or block described by Mr. Schikevitz.

        An energy isolation device could also have been used to secure a stationary base
        unit crossmember to a cross member [sic] on the movable boom section. This


16
     Christopher Schikevitz is a product line’s manager at Siemens Dematic. (Doc. Nos. 29-9, 30-
     7.) He provided an affidavit dated July 30, 2018 and testified at a deposition on January 9,
     2018.
                                                 19
       Case 2:17-cv-01985-JHS          Document 49       Filed 03/22/19      Page 20 of 27




        alternative would enable workers to secure the sections in the same manner as the
        come-along method described by Mr. Schikevitz.

        Non-integral energy isolation devices (e.g., safety blocks, clamps, come-alongs)
        could also have been provided.

(Doc. No. 30-5 at 16-17; see also Doc. No. 30-7 at 11:3-20.)

        Further, in his deposition, Cocchiola specified that the pin discussed in his report, should

be an L-shaped pin, six inches long and three-quarter inches in diameter to adequately sustain the

weight of the booms. (Doc. No. 30-9 at 3:4-17.) Michael Martin, a contract equipment manager

at UPS, agreed that the insertion of a pin would “prevent the booms from rolling out completely

all together.” (Doc. No. 30-10 at 4:8-14.) Additionally, Christopher Schikevitz admitted in his

deposition that a mechanical lockout pin was contemplated for the design of the LOA-53, a

subsequent conveyor to the LOA-24. (Doc. No. 30-7 at 11:10-25.)

        By contrast, Defendants’ expert, Frank Schwalje disagreed. In summary, he opined:

        The injuries sustained by Mr. Elgert were not caused by any defect or deficiency in
        the design or manufacture of the Siemens Dematic, Model LOA-24 extendable
        boom, gravitational conveyor. This conveyor contained all the necessary features
        for its intended use. 17

(Doc. No. 29-6 at 24.)

        Cocchiola’s opinion conflicts with Schwalje’s opinion. Reasonable jurors could believe

either expert’s testimony at trial. Consequently, the dispute between the experts is not appropriate

for resolution at the summary judgment stage. Nathan v. Techtronic Indus., N. Am., 92 F. Supp.

3d 264, 273 (M.D. Pa. 2015) (citing Hoffman v. Paper Converting Mach. Co., 694 F. Supp. 2d 359,

365-366 (E.D. Pa. 2010) (explaining that conflicting expert opinions on the feasibility of

alternative design was not susceptible of resolution at the summary judgment stage).




17
     A complete statement of Schwalje’s conclusions is in the Background section, supra.
                                                20
      Case 2:17-cv-01985-JHS           Document 49       Filed 03/22/19      Page 21 of 27




       In addition, the evidence offered on summary judgment raises a disputed issue of fact as to

whether the probability and seriousness of harm outweighs the burden and cost of installing a

lockout system to anchor the booms.

       [Cocchiola] disagrees with [Schwalje’s] suggestion that a lockout pin would have
       weakened the LOA 24 [sic] and caused problems based on the type of loading
       conditions. The telescoping conveyor sections cantilever out from the base unit,
       which anchored to the floor. The cantilever loads exerted by the telescoping
       sections place the top of the base unit in tension and the bottom in compression.

(Doc. No. 30-5 at 16.) This conflicting testimony raises another genuine issue of material fact as

to Siemens Dematic’s ability to eliminate the unsafe character of the LOA-24 without impairing

its usefulness or making it too expensive to maintain its utility. Tincher, 104 A.3d at 398.

       Furthermore, it is also disputed whether Plaintiff would have exercised due care by being

alert to warnings and following suitable instructions. Tincher, 104 A.3d at 398. Defendants

warned against the inherent danger of the LOA-24 in the service manual. (Doc. Nos. 29-7; 30-6.)

However, they provided no instructions, training or written materials on how to anchor the booms

to mechanically lockout the machine. (Id.) As noted, Siemens Dematic has issued no instructions

in the manual on how to mechanically lockout or anchor the machine. According to a Siemens

Dematic representative, Christopher Schikevitz (“Schikevitz”), the company provided an in-

person informal training on basic maintenance, including mechanical lockout in 2008. (Doc. No.

30-7 at 14:23-25; 15:3-5.) Aside from this training session, Siemens Dematic did not offer any

other training or written materials to UPS mechanics during their employment on how to lockout

and maintain the LOA-24. As a newly hired mechanic, Elgert learned UPS’s internal lockout

methods during his orientation training.

       For their part, Defendants offer evidence in Frank Schwalje’s affidavit that this case is the

only reported claim, notice or lawsuit alleging that a product defect in the LOA-24 resulted in



                                                21
      Case 2:17-cv-01985-JHS          Document 49        Filed 03/22/19       Page 22 of 27




personal injury. (Doc. No. 29-10 ¶ 7.) He explains that the product has been used in UPS facilities

nationwide for over twenty years, and over 1,450 units have been distributed. (Id.) Defendants

therefore submit that Elgert’s anomalous injury could have been avoided if he looked at the service

manual available at his UPS facility, which he admits that he never did.       Further, Defendants

produced the UPS accident report, which indicates that the root cause of Elgert’s injury was that

“unit booms were not anchored or come-alonged in place in order to prevent gravity from moving

the unit,” and “he did not tighten the clutch pad on the left side after replacement.” (Doc. No. 29-

4 at 7.) Additionally, UPS mechanic Ernest Strother testified at his sworn oral deposition that in

a discussion with Elgert about the incident, Elgert stated that he “messed up.” (Doc. No. 29-14 at

163:7-20.) Accordingly, Defendants argue that the injury was caused solely by Elgert’s actions,

and not the defective design of the LOA-24, a position disputed by Cocchiola, Plaintiff’s expert

engineer.

       Viewing all of the evidence in the light most favorable to Plaintiff, there are genuine issues

of material fact as to whether the LOA-24 had a design defect and whether Elgert could have

exercised due care to prevent his injury by reading the service manual available to him. Moreover,

there is also a genuine issue of material fact as to whether the accident could have been avoided if

Defendants had provided suitable instructions that were specific on how to mechanically lockout

the machine. These questions require credibility determinations, and more than one conclusion

can arise from the evidence presented.       For these reasons, summary judgment in favor of

Defendants is not warranted on this claim.


    B. Summary Judgment Will Be Granted On Plaintiff’s Negligence Claim in Count II

       Elgert initially made two claims in his Complaint: (1) strict liability due to the defective

design and (2) negligence. (Doc. No. 1 at 13-24.) As noted previously, in his Response in

                                                22
       Case 2:17-cv-01985-JHS           Document 49        Filed 03/22/19      Page 23 of 27




Opposition to Defendants’ Motion for Summary Judgment (Doc. No. 31-1), he did not address the

negligence claim. In their Reply, Defendants contend that they are entitled to summary judgment

on the negligence claim in Count II because Plaintiff effectively “abandoned” it by not addressing

it. (Doc. No. 34 at 2.) The docket, however, does not contain any indication that Count II of the

Complaint has been dropped from the case. For the reasons discussed infra, however, the Court

will grant summary judgment on the negligence claim.

        Elgert asserts that Siemens Dematic is both strictly liable and liable for negligence in

failing to warn him of the dangers of the LOA-24. (See Doc. No. 1 at 13-24.) In relevant part, he

argues that Defendants were negligent for:

        failing to have adequate warnings on the product;

        failing to provide proper and adequate warnings to plaintiff’s employer;

        failing to provide proper and adequate warnings to ultimate users of the product;

        failing to warn the ultimate users of the conveyor system with respect to the dangers
        of said product and how to use the product safely to avoid injury[.] 18

(Doc. No. 1 at 21.)

           In Mazur v. Merck & Co., the Third Circuit explained a manufacturer’s duty to warn as

follows:

        Ordinarily, Pennsylvania follows Section 402A 19 of the Restatement (Second) of
        Torts which imposes strict liability on the manufacturer of a product sold “in a


18
     Paragraph 23 of the Complaint contains a laundry list of other allegations. Based on the Court’s
     review, only the allegations extrapolated here pertain to negligence, while the others relate to
     the defective design claim asserted in Count I of the Complaint.
19
     Restatement (Second) of Torts § 402A provides, in relevant part:

     (1) One who sells any product in a defective condition unreasonably dangerous to the
         user or consumer or to his property is subject to liability for physical harm thereby
         caused to the ultimate user or consumer, or to his property, if

                                                  23
       Case 2:17-cv-01985-JHS           Document 49        Filed 03/22/19      Page 24 of 27




        defective condition unreasonably dangerous to the user or consumer . . . .” The
        product may be considered in a defective condition if it is sold without a warning
        of the hazards associated with its use.

742 F. Supp. 239, 251 (E.D. Pa. 1990), aff’d, 964 F. 2d 1348, 1353 (3d Cir. 1992) (citations

omitted).

        Under this Section, a manufacturer is liable for harm caused by a defective product. The

lack of warning may be considered a defect. But there is a second rule that can apply when a

product is defective for lack of warning. The District Court in Mazur explained that the rules are

different for products that are “incapable of being made safe for . . . [their] intended use.” Id.

(quoting Incollingo v. Ewing, 444 Pa. 263, 287 (Pa. 1971)). With respect to those special products,

“the standard of care required is that set forth in § 388 of the Restatement 20 dealing with the

liability of a supplier of a chattel known to be dangerous for its intended use.” Id. Under this

section, the supplier has a duty to exercise reasonable care to inform product users of the facts




        (a) the seller is engaged in the business of selling such a product, and

        (b) it is expected to and does reach the user or consumer without substantial change
        in the condition in which it is sold.
20
     Restatement (Second) of Torts § 388 provides:

     One who supplies directly or through a third person a chattel for another to use is subject to
     liability to those whom the supplier should expect to use the chattel with the consent of the
     other or to be endangered by its probable use, for physical harm caused by the use of the chattel
     in the manner for which and by a person for whose use it is supplied, if the supplier

     (a) knows or has reason to know that the chattel is or is likely to be dangerous for the use for
         which it is supplied, and

     (b) has no reason to believe that those for whose use the chattel is supplied will realize its
         dangerous condition, and

     (c) fails to exercise reasonable care to inform them of its dangerous condition or of the facts
         which make it likely to be dangerous.

                                                  24
       Case 2:17-cv-01985-JHS            Document 49         Filed 03/22/19       Page 25 of 27




which make it likely to be dangerous. Id. 282 at n 9; see also Baldino v. Castagna, 487 A.2d 807,

810 (Pa. 1984).

        Determination whether a warning is adequate is a question of law to be decided by the

court, not a jury. Mazur v. Merck & Co., 964 F. 2d 1348, 1366 (3d Cir. 1992) (citing Mackowick

v. Westinghouse Electricity Corp., 575 A.2d 100, 103 (Pa. 1990). In the present case, it is unclear

which standard applies to the LOA-24 because as discussed supra, whether it could be designed

safer for its intended use is an issue for the jury to decide at trial. An analysis under either standard,

however, depends on whether manufacturers “complied with the duty to exercise reasonable care

to inform” product users of the risks associated with their product. Mazur, 742 F. Supp. 239, 252

(E.D. Pa. June 29, 1990), aff’d, 964 F. 2d 1348, 1353 (3d Cir. 1992) (citations omitted).

        Here, Siemens Dematic met their duty to provide a reasonable and adequate warning of the

inherent dangers of the LOA-24. Specifically, Defendants had a duty to warn of the possibility

that the LOA-24’s booms would telescope by the force of gravity and injure a mechanic if they

were not anchored during maintenance through a mechanical lockout procedure. The record

indicates that Siemens Dematic warned against this exact risk in the service manual. The manual

clearly stated:

        Do not perform adjustments, maintenance, or other work on this equipment without
        following OSHA lock-out/tag-out requirements and state and local requirements.
        Failure to follow these requirements may result in serious injury and/or equipment
        damage.

        Anchor the unit booms before starting the removal procedure. Once the boom chain
        master link is disconnected, gravity will move the unit booms if they are not
        anchored. 21

(Doc. No. 29-7 at 18.)


21
     Again, it should be noted that the manual did not contain instructions on how to mechanically
     lockout the machine, which is only relevant to the design defect claim in Count I.

                                                   25
       Case 2:17-cv-01985-JHS            Document 49         Filed 03/22/19       Page 26 of 27




        Importantly, Plaintiff does not dispute that this warning exists. As noted previously, in his

deposition, Elgert admits that he never read the service manual, even though he the he had access

to it at his UPS facility. (Doc. No. 29-5 at 42:11-14.) Flanagan v. MARTFIVE, LLC, 259 F. Supp.

3d 316, 320 (W.D. Pa. 2017) (granting summary judgment on a failure-to-warn claim pursuant to

Restatement (Second) of Torts § 402A where a plaintiff testified under oath that he did not read

the manufacturer’s warnings).

        Accordingly, as the moving party, Defendants have met their burden of showing that no

genuine dispute of material fact on Plaintiff’s negligence claim. They are entitled to summary

judgment for this reason and also because Plaintiff has not made an opposing argument.

        With respect to summary judgment, where a moving party has sustained its initial burden,

the burden of producing substantial evidence to demonstrate the existence of a genuine dispute as

to a material fact shifts to the opposing party. See Fed. R. Civ. P. 56 (e)(3) (stating that “[i]f a party

fails to properly support an assertion of fact or fails to properly address another party’s assertion

of fact as required by Fed. R. Civ. P. 56(c), the court may grant summary judgment if the motion

and supporting materials . . . show that the movant is entitled to it”). See also Anderson, 477 U.S.

at 248 (“There is no issue at trial unless there is sufficient evidence favoring the nonmoving party

for a jury to return a verdict for that party. If the evidence is merely colorable, or is not significantly

probative, summary judgment may be granted”). Further, a 2010 amendment to the Advisory

Committee Notes on Federal Rule of Civil Procedure 56(c)(4), which governs evidence submitted

on summary judgment, states that a court may “consider a fact as undisputed for the purposes of a

motion when response or reply requirements are not satisfied.”

        Plaintiff’s only assertions regarding his negligence claim are raised in Count II of the

Complaint. In effect, Plaintiff does not dispute Defendants’ argument for summary judgment on



                                                    26
        Case 2:17-cv-01985-JHS        Document 49        Filed 03/22/19     Page 27 of 27




the negligence claim because he has not satisfied the requirements of responding to it in his

Opposition to Defendants’ Motion for Summary Judgment, filed on August 15, 2018. To survive

summary judgment, Plaintiff cannot rely solely on the allegations in his Complaint to support his

claim. Because Defendants have met their burden of showing no dispute of material fact exists,

Plaintiff must present evidence to the contrary to avoid summary judgment. Booth v. Pence, 354

F. Supp. 2d 553, 557 (E.D. Pa. 2005) (“To avoid summary judgment, the non-moving party must

produce more than a ‘mere scintilla’ of evidence to demonstrate a genuine issue of material fact”).

The record here indicates that he has not even tried to meet this burden.

        For all of these reasons, summary judgment on the negligence claim in Count II of the

Complaint will be granted.

   V.      CONCLUSION

        For the foregoing reasons, Defendants’ Motion for Summary Judgment (Doc. No. 28) will

be granted in part and denied in part. It will be granted on the negligence claim asserted in Count

II of the Complaint and denied on the strict liability claims asserted in Count I. An appropriate

Order follows.




                                                27
